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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

                          CASE NO. 20-21553-COOKE/GOODMAN

   PATRICK GAYLE, et al.,

           Plaintiffs,

   v.

   MICHAEL W. MEADE, et al.,

         Defendants.
   __________________________/

        REPORT AND RECOMMENDATIONS ON CLASS CERTIFICATION MOTION

   I.      Introduction and Summary of Recommendations

           Petitioners/Plaintiffs are 58 persons who Immigration and Customs Enforcement

   (“ICE”) are detaining at three South Florida detention centers. They have filed a lawsuit

   against ICE, challenging the conditions at the three centers as violating guidelines

   promulgated by the Centers for Disease Control and Prevention (“CDC”). They contend

   that their health and lives are in jeopardy at the centers because the novel Coronavirus

   (“COVID-19”) unreasonably exposes them all to the potentially-deadly virus.

           Plaintiffs have filed an Expedited Motion for Class Certification. [ECF No. 81].

   They want the Court to certify as a class all individuals currently detained at the three

   centers when the lawsuit was filed (on April 13, 2020, [ECF No. 1]), since the action was

   filed, and in the future. They have not identified any proposed sub-classes. Based on
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   numbers ICE provided during a May 14, 2020 hearing on this class certification motion

   [ECF No. 98], there were 1,124 detainees as of May 13, 2020.

          During the hearing and in their written submissions, Plaintiffs advocated for the

   immediate release of all the detainees. But during the hearing, they acknowledged that

   any release procedure would inevitably involve a prioritization of which persons would

   be released first. Similarly, in a recently-filed “Emergency1 Motion to Compel

   Compliance With the Court’s April 30, 2020 Temporary Restraining Order” [ECF No.

   106], Plaintiffs stated that decisions about whether to transfer a detainee involve

   “individualized determinations of whether to release people.” Id. at p. 3. And they agreed

   during the hearing that factors such as health risks, danger to the community, and risk of

   flight, should be used in the release decisions.

          Evaluating these types of factors necessarily involves both an individualized

   determination of a detainee’s suitability for release (and/or transfer) and a detainee-by-

   detainee assessment of what conditions, if any, should be imposed with a release

   decision.




   1
          Plaintiffs’ Emergency Motion did not contain or attach a “certification of
   emergency,” as required by Southern District of Florida Local Rule 7.1(d)(1). But
   Plaintiffs’ earlier-filed Emergency Motion for Temporary Restraining Order and
   Preliminary Injunction [ECF No. 4] did contain the required certification. Despite this rule
   violation, United States District Judge Marcia G. Cooke promptly issued a briefing
   schedule order [ECF No. 107] and required the parties to be prepared to discuss the
   emergency motion at an already-scheduled May 27, 2020 hearing on the preliminary
   injunction motion.

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          For example, ICE2 would evaluate for possible release a wheelchair-bound diabetic

   detainee with high blood pressure, liver disease, no criminal convictions, no pending

   criminal charges, and relatives with an unoccupied bedroom in their home in rural

   Florida much differently than a healthy, 22-year-old soccer-playing detainee with drug

   trafficking and aggravated battery convictions, pending criminal charges for armed

   robbery and no family members living in the United States.

          Given the inevitable detainee-specific factors which must be considered in any

   release decision, Petitioners’ habeas corpus claim for immediate release is inappropriate

   for class certification.

          The habeas corpus claim for immediate release of all detainees does not meet the

   commonality requirement of Federal Rule of Civil Procedure 23(a)(2). In addition, it does

   not meet Rule 23(b)(2)’s requirement that “the party opposing the class has acted or

   refused to act on grounds that apply generally to the class, so that final injunctive relief

   . . . is appropriate respecting the class as a whole.” That rule does not warrant class

   treatment here because the requested injunction would generate highly individualized

   determinations, not release assessments about the entire class as a whole.




   2
         Although Michael W. Meade (the Miami Field Office Director for ICE) and
   Attorney General William P. Barr are technically the Respondents, Petitioners’ arguments
   focus on what ICE has (and has not) done about the COVID-19 risks at the three
   immigration detention centers. Therefore, this Report will often refer to Respondents
   simply as ICE.


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          So, the Undersigned respectfully recommends that United States District Judge

   Marcia G. Cooke, who referred [ECF No. 82] the class action motion to me, deny the class

   certification motion concerning the habeas corpus demand for release.

          On the other hand, the remaining claims and requests for relief (other than a

   request to prevent ICE from transferring detainees to other facilities and the request to

   include future detainees) are appropriate for class action treatment. Specifically, the

   claims for injunctive relief (to require appropriate precautionary health measures) and

   for declaratory relief (i.e., finding that the continued detention of all class members

   creates an undue increased risk of severe illness or death, thus violating the U.S.

   Constitution’s Due Process Clause) justify class treatment under Federal Rule of Civil

   Procedure 23(a) and (b)(2).

          The affidavits/declarations Plaintiffs submitted with their Emergency Motion for

   Temporary Restraining Order and Preliminary Injunction [ECF Nos. 4; 7; 8], their Notice

   Regarding New Named Petitioners-Plaintiffs [ECF No. 61-1], and in support of their class

   certification motion [ECF No. 94-1] portray a stressful scenario where the detainees are

   legitimately concerned over the COVID-19 risk in facilities which (as currently

   configured) do not permit adequate social distancing, and which purportedly do not

   provide sufficient cleaning and sanitizing supplies. In addition, the picture painted in the

   more-recent emergency motion to compel compliance is one where Plaintiffs allege (with

   supporting declarations) that “ICE has not fully complied” and “instead continues to fail


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   to protect the safety and well-being” of the detainees. [ECF No. 106, p. 2].

          Thus, because all detainees in all three facilities confront, in general, the same

   conditions vis-à-vis COVID-19, a class action should be approved.

          Therefore, the Undersigned respectfully recommends that Judge Cooke grant the

   motion, in part, and certify a class of all current detainees at the three South Florida

   facilities for the conditions-of-confinement claims (as opposed to the claim for release).

          However, the mere fact that a class might be certified (or is in fact certified) does

   not necessarily mean that the class will ultimately prevail. If a class for the conditions-of-

   confinement claims were to be certified, then the class claims would rise or fall together

   on the merits. Based on a recent decision from the Eleventh Circuit Court of Appeals and

   other recent appellate decisions, the chances that the 58 named Plaintiffs or the class will

   succeed in obtaining a preliminary injunction or declaratory relief in their favor have

   arguably decreased since the Court initially entered a Temporary Restraining Order last

   month. This potential significant change in the Plaintiffs’ ability to ultimately prevail on

   the merits does not mean that a class of some type should not be certified. Instead, it

   simply means that the certified class might not succeed on the merits.

          By pointing out this procedural reality, the Undersigned is not predicting,

   suggesting, or implying in any way that Judge Cooke will not issue a preliminary

   injunction or that our Appellate Court would reverse one if entered. Rather, I am simply

   noting that appellate courts appear to not treat the COVID-19 crisis as affecting prisoner-


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   filed or detainee-filed lawsuits and the requirement that those plaintiffs prove deliberate

   ignorance (as opposed to mere negligence) by government officials or their agents in

   order to succeed.

   II.    Factual Background

          Petitioners/Plaintiffs are 58 immigration detainees housed in three federal

   immigration detention centers in Florida: the Krome Detention Center in Miami (a/k/a

   Krome Service Processing Center), the Broward Transitional Center in Pompano Beach,

   and the Glades County Detention Center in Moore Haven. There were 34 Plaintiffs who

   filed the original lawsuit, but the Undersigned granted [ECF No 65] a motion [ECF No.

   60] to add named Petitioners/Plaintiffs.

          At bottom, Petitioners claim that they are at imminent risk of contracting COVID-

   19 because their detention renders them unable to follow the Center for Disease Control

   and Prevention’s (“CDC”) guidelines. They allege that there is “currently no way” for the

   three centers to comply with the CDC’s guidelines on social distancing and quarantining.

   [ECF No. 1, p. 9].

          They say that (1) each facility “holds individuals in close proximity”; (2) people

   are less than six feet away from each other when they sleep, eat, and use common areas;

   (3) “it is impossible for Petitioners to protect themselves from infection through social

   distancing and vigilant hygiene – the only known mitigation measures”; (4) groups of

   individuals are “herded together in ‘cohort quarantine’ because they have been exposed”


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   to others who might have COVID-19 symptoms; and (5) “cohort quarantines drastically

   increase the possibility of transmission, infection, and facility-wide outbreak by grouping

   together people who have already been exposed to the virus.” [ECF No. 1, pp. 9-10].

          The Undersigned assumes that all parties and their counsel are familiar with

   COVID-19 and the global health crisis it has generated. Consequently, the Undersigned

   does not deem it necessary to discuss here in detail the background of the virus and the

   CDC’s recommendation that everyone practice social distancing, which involves the

   maintenance of not less than six feet between people in order to limit the virus’ spread.

   For present purposes, however, the Undersigned will simply provide a recent statistic:

   As of May 20, 2020, the CDC website reported 1,551,095 confirmed COVID-19 cases and

   93,061 COVID-19 related deaths in the United States; the World Health Organization

   reported 4,789,205 cases and 318,789 deaths globally.

          According to the CDC, the following persons have a heightened vulnerability to

   severe illness or death if they contract the coronavirus: those who are 65 years of age or

   older, people who live in a nursing home or long-term care facility, persons who are

   immunocompromised, and those with other pre-existing health conditions, such as

   serious heart conditions, diabetes, chronic lung disease, chronic kidney disease, liver

   disease, asthma, hemoglobin disorders, and severe obesity. 3




   3
        The Court’s Temporary Restraining Order added pregnant detainees to the
   Pandemic Response Requirements’ list of higher-risk detainees. [ECF No. 76, p. 10, n. 13].

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          The CDC’s Interim Guidance on Management of Coronavirus Disease 2019

   (COVID-19) in Correctional and Detention Facilities summarizes some of the harsh

   realities of the increased COVID-19 risks at detention centers like Krome, Broward and

   Glades:

      •   Incarcerated/detained persons live, work, eat, study, and recreate within
          congregate environments, heightening the potential for COVID-19 to spread once
          introduced.

      •   In most cases, incarcerated/detained persons are not permitted to leave the facility.

      •   There are many opportunities for COVID-19 to be introduced into a correctional
          or detention facility, including daily staff ingress and egress; transfer of
          incarcerated/detained persons between facilities and systems, to court
          appearances, and to outside medical visits; and visits from family, legal
          representatives, and other community members. Some settings, particularly jails
          and detention centers, have high turnover, admitting new entrants daily who may
          have been exposed to COVID-19 in the surrounding community or other regions.

      •   Persons incarcerated/detained in a particular facility often come from a variety of
          locations, increasing the potential to introduce COVID-19 from different
          geographic areas.

      •   Options for medical isolation of COVID-19 cases are limited and vary depending
          on the type and size of facility, as well as the current level of available capacity,
          which is partly based on medical isolation needs for other conditions.

      •   Adequate levels of custody and healthcare staffing must be maintained to ensure
          safe operation of the facility, and options to practice social distancing through
          work alternatives such as working from home or reduced/alternate schedules are
          limited for many staff roles.

      •   Correctional and detention facilities can be complex, multi-employer settings that
          include government and private employers. Each is organizationally distinct and
          responsible for its own operational, personnel, and occupational health protocols
          and may be prohibited from issuing guidance or providing services to other
          employers or their staff within the same setting. Similarly, correctional and

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              detention facilities may house individuals from multiple law enforcement
              agencies or jurisdictions subject to different policies and procedures.

          •   Incarcerated/detained persons and staff may have medical conditions that
              increase their risk of severe disease from COVID-19.

          •   Because limited outside information is available to many incarcerated/detained
              persons, unease and misinformation regarding the potential for COVID-19 spread
              may be high, potentially creating security and morale challenges.

          •   The ability of incarcerated/detained persons to exercise disease prevention
              measures (e.g., frequent handwashing) may be limited and is determined by the
              supplies provided in the facility and by security considerations. Many facilities
              restrict access to soap and paper towels and prohibit alcohol-based hand sanitizer
              and many disinfectants.

          •   Incarcerated persons may hesitate to report symptoms of COVID-19 or seek
              medical care due to co-pay requirements and fear of isolation.

   III.       Procedural Background

              Following a Report and Recommendations [ECF No. 63], Objections (by both

   sides) [ECF Nos. 70-71], Responses (by both sides) to the Objections [ECF Nos. 72-73], two

   Petitioners-filed Notices of Supplemental Authority [ECF Nos. 74-75], Judge Cooke

   issued a 14-day Temporary Restraining Order [ECF No. 76], which she later extended for

   another 14 days on May 15, 2020 [ECF No. 101]. The Order extending the TRO also

   scheduled a hearing on the Emergency Motion for Preliminary Injunction for May 27,

   2020. Id.

              Noting that the Petitioners are merely civil detainees, 4 not convicted criminal


   4
         Although the Petitioners are civil detainees who are not serving a federal prison
   sentence, that does not mean that they all lack criminal records. In a post-TRO Report, for

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    prisoners (serving a prison sentence at the facilities), the TRO held that ICE’s failures to

    protect the safety and well-being of Petitioners “amount to cruel and unusual

    punishment because they are exemplary of deliberate indifference.” [ECF No. 76, p. 6].

    The Court also noted that ICE had made a conscious effort to address detention

    conditions at one center by releasing all detainees over age 60 and decreasing the overall

    detainee population by 35%. Id. Therefore, the TRO explained, “to the extent that ICE fails

    to commit to addressing the conditions complained of, ICE has demonstrated deliberate

    indifference.” Id.

           Although the Court found that injunctive relief is appropriate because of the Fifth

    and Eighth Amendment violations, it also noted that “the record is not clear as to whether

    each individual Petitioner is eligible for release under ICE’s PRR.”5 Id. at p. 10

    (emphasis added). For example, Judge Cooke noted, “it is unclear who among the

    Petitioners would be considered “mandatory detainees.” Id. (emphasis added).

           The Court granted in part and denied in part Petitioners’ Emergency Motion for a



    example, ICE explained that 35 of the 58 Petitioners are subject to mandatory detention
    and that 11 have criminal convictions “or pending criminal charges which [in ICE’s stated
    opinion] make them a threat to public safety.” [ECF No. 89-1]. And in a later Report filed
    on May 11, 2020, ICE advised [ECF No. 93-1] that 241 of the 419 Krome detainees have
    criminal convictions, 253 of the 348 Glades detainees have criminal convictions and 87 of
    the 419 Broward detainees have criminal convictions. In addition, 153 of the 443 Krome
    detainees are facing pending criminal charges, 96 of the 419 Broward detainees are facing
    pending criminal charges, and 95 of the 348 Glades detainees are facing pending criminal
    charges.

    5
           PRR refers to ICE’s COVID-19 April 10, 2020 Pandemic Response Requirements.

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    Temporary Restraining Order and imposed several requirements on ICE. Some

    requirements concerned specific steps which ICE must take to accomplish the goal of

    reducing the population to 75% of capacity at each of the three centers, some imposed

    reporting requirements, and some required specific health-related protocols.

           Although both sides filed Objections to the Undersigned’s Report and

    Recommendations, neither side appealed the TRO, which largely adopted the specific

    measures suggested in the R & R.6

           28 U.S.C. § 1292(a)(1) gives federal appellate courts jurisdiction over interlocutory

    orders of district courts “granting, continuing, modifying, refusing or dissolving

    injunctions, or refusing to dissolve or modify injunctions, except where a direct review

    may be had in the Supreme Court.” (emphasis added). Although a TRO provides a type

    of injunctive relief, it is not a preliminary injunction. This distinction is critical, as

    “preliminary injunctions are appealable but temporary restraining orders are not.”

    Mitsubishi Intern. Corp. v. Cardinal Textile Sales, Inc., 14 F.3d 1507, 1515 (11th Cir. 1994).7

           The TRO did not order ICE to release any specific detainee, nor did it require ICE

    to release any specific categories of detainee. Similarly, it did not specifically instruct ICE


    6
          The TRO did not adopt the Report and Recommendations’ suggestion that the
    Court appoint an independent expert to evaluate the three facilities.

    7
           Where a temporary restraining order has the effect of a preliminary injunction,
    however, then the appellate court has jurisdiction to review the order and is not bound
    by the district court’s designation of the order. Mitsubishi Intern. Corp., 14 F. 3d at 1515,
    n.14.

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    as to how to prioritize any release decisions. The TRO did not mandate that ICE in fact

    reduce the census at each facility to 75% of capacity. Rather, it required ICE to (1) evaluate

    the named detainees and inform the Court who among them could be released; (2)

    consider health status, bond eligibility, immigration status, immigration court history

    and prior criminal history when making the evaluations; and (3) submit a report about

    how it intends to accelerate its review of detainee release protocols “with the goal of

    reducing the population to 75% of capacity at each of the three detention centers within

    two weeks” of the TRO. [ECF No. 76, p. 10 (emphasis added)]. The TRO did not direct

    ICE to consider one or more factors as more or less important than other factors, nor did

    it impose any specific barriers to ICE’s ability to lower the detainee population through

    transfers.

           After Judge Cooke entered the TRO, she granted in part [ECF No. 78] a motion for

    clarification [ECF No. 77] to permit ICE to “transfer detainees from the three facilities

    at issue,” but only after “first evaluating each detainee and making a determination” of

    the detainee’s release eligibility under the PRR. [ECF No. 78, p. 1 (emphasis added)].

    Neither the TRO nor this clarification Order required ICE to provide copies of completed

    forms used to evaluate detainees for possible release to the Court or to Plaintiffs’ counsel.

           A.     ICE’s TRO-Required Reports

           In its first post-TRO Report, filed on May 2, 2020, ICE provided information on a

    center-by-center basis. [ECF No. 79].


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           Concerning Krome, ICE advised that it issued every detainee a surgical mask on

    April 29, 2020 and agreed to exchange the masks every Wednesday. [ECF No. 79-1, p. 1].

    It also said it would continue to provide, at no cost to the detainees, “adequate” amounts

    of soap, water and cleaning materials to the detainees. Id. It further advised that

    disinfecting wipes are provided to detainees for cleaning of mattresses and bunks

    (though it did not reveal how often). Id. at p. 2.

           In addition, ICE advised that the dormitories are equipped with antibacterial soap

    dispensers, running water and paper towels. Id. Similarly, it advised that hand sanitizer

    dispensers have been installed in all housing units and that staffers visit each unit daily

    and replenish supplies daily. Id.

           At Glades, ICE said in its first report, the staff issued every ICE detainee a surgical

    mask, and they also provided instructions in multiple languages. Id. The masks are to be

    replaced every Friday. Id. The report also explained that “adequate” amounts of soap,

    water and cleaning materials are provided to ICE detainees, at no cost to them. Id. In

    addition, all dormitories are equipped with antibacterial soap dispensers, running water

    and paper towels. Id. The report advised that dormitories are sanitized twice daily. Id.

    The report later explained that four ounces of antibacterial soap are provided for

    individual use and is “replenished as needed.” Id.

           At Broward, all detainees were issued masks on April 17, 2020 and are exchanged

    once per week. [ECF No. 79-2, p. 1]. The staff gives detainees two four-ounce bottles of


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    soap, which is replenished as needed, at no cost to the detainee. Id. at p. 2. In addition,

    detainees are also issued a 7.5-ounce pump bottle of antibacterial soap for each room,

    which is refilled as needed seven days per week. Id. The report also advises that cleaning

    supplies are issued daily and that a facility sanitation team conducts a deep cleaning of

    each detainee bathroom twice per week. Id. The sanitation team uses two pump sprayers

    to spray the turf twice per day. Id. The cleaning crew, which includes detainee volunteers,

    uses masks and gloves while cleaning. Id.

           ICE’s second post-TRO report [ECF No. 80], filed on March 3, 2020, focused on

    release, and it outlined the decision-making process and the numbers of detainees

    released. Relevant portions of this report are provided here verbatim:

           3. ICE’s goal is to reduce the population to 75%, which has been met at
           Broward Transitional Center. ICE has and will continue to review cases and
           exercise its discretion to pursue alternatives to detention within the
           confines of the law.

           4. Alternatives to detention can include a release on GPS ankle monitor,
           release on parole, release on an order of recognizance (OREC) with or
           without a bond pending removal proceedings, and release on an order of
           supervision (OSUP) with reporting requirements. Whether a detainee is
           eligible for release pursuant to any of the mechanisms above depends upon
           his or her manner of entry, and the applicability of the mandatory detention
           statutes under the Immigration and Nationality Act (INA).

           5. When evaluating custody, ICE considers immigration history, criminal
           record, potential threat to public safety, flight risk, and national security
           concerns, as well as current health status and COVID-19 vulnerability in
           accordance to the Centers for Disease Control (CDC) guidelines.

           6. ICE is reducing its detainee population at Krome and Glades to reach the
           target capacity through a continuous review of all cases, where detainees

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         have been identified by ICE Health Service Corps as having a medical
         condition that makes them “at risk” for COVID-19, according to the CDC
         guidelines and the factors enumerated in U.S. District Court for the Central
         District of California preliminary injunction order in Fraihat v. ICE, ---F.
         Supp. 3d ---, 2020 WL 1932570 (Apr. 20, 2020), to determine if their detention
         remains appropriate.

         7. To that end, ICE also identifies within five days of coming to ICE custody
         all detainees with risk factors and considers them in making custody
         determinations.

         8. ICE further intends to continue reducing its detained population at
         Krome and Glades by identifying eligible arriving alien cases for parole
         consideration.

         9. Arriving aliens who establish a credible fear of persecution or torture are
         to be detained for further consideration of the application for asylum. INA
         § 235(b)(l)(B)(ii), 8 U.S.C. § 1225(b)(1)(B)(ii). Such aliens, however, may be
         paroled on a case-by-case basis for "urgent humanitarian reasons" or
         "significant public benefit," provided the aliens present neither a security
         risk nor a risk of absconding. 8 C.F.R. § 212.5(b).

         10. ICE will continue to provide eligible detainees with a Parole Advisal
         and Scheduling Notification Form, which inform the detainee that he/she
         will be interviewed for potential parole and provides the detainee
         instructions on how to submit any supporting documentation.

         11. ICE will continue to review all previously-granted bonds to determine
         whether reduction of the bond amount or release on an order of
         recognizance, with a GPS ankle monitor to mitigate risk of flight, is
         appropriate.

         12. ICE intends to continue reduction of the population at Krome and
         Glades by accelerating the review and release on Orders of Supervision for
         all final order detainees, where ICE has determined that there is no
         significant likelihood of removal in the reasonably foreseeable future.

         13. ICE detained population at Krome and Glades will be further reduced
         through release of detainees granted relief or bond by an Immigration


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           Judge, or through the enforcement of removal orders where logistically
           feasible.

           14. During February, March and April 2020, ICE officials at Krome and
           Glades released 289 individuals on an Order of Recognizance, Order of
           Supervision, Parole or Bond.

           15. During February, March and April 2020, officials at BTC released 218
           individuals on an Order of Recognizance, Order of Supervision, Parole or
           Bond.

    [ECF No. 80-1, pp. 1-3].

           ICE’s third Report [ECF No. 89] addressed the population of the three centers (i.e.,

    whether they were below capacity) and information about the release status of the 58

    Petitioners, including information about the factors used to assess eligibility for release

    (e.g., whether a detainee is subject to mandatory detention, has criminal convictions or

    pending charges, or has health conditions which would increase their vulnerability to

    COVID-19). Relevant portions of this report are provided here verbatim:

           3. As of May 7, 2020, Krome’s population is presently at 71% capacity. The
           detainee population at Glades is presently at 74% capacity. BTC’s detainee
           population is presently at 65% capacity.

           4. ICE has reviewed each of the 58 petitioners’ detention pursuant to the
           district court’s order. Of the 58 petitioners, six of the petitioners have been
           released from ICE custody, to include Tahimi Perez, Francisco Rivero
           Valeron, Eitan Yefet, Fernando Goncalves, Maxuel De Souza, and Maria
           Rodriguez Claras.

           5. ICE determined that of the 52 remaining petitioners, 35 are subject to
           mandatory detention.

           6. ICE found that of the 52 petitioners, 17 are not subject to mandatory
           detention.

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         7. ICE determined that 11 of the petitioners who are not subject to
         mandatory detention have criminal convictions or pending criminal
         charges which make them a threat to public safety.

         8. An immigration judge denied a bond to one of the non-mandatory
         detention plaintiffs based upon flight risk. The plaintiff did not appeal the
         bond denial. The immigration judge ordered removal and the plaintiff did
         appeal the removal order. The appeal remains pending.

         9. ICE released an additional two petitioners on alternatives to detention,
         Eliseo Zamora-Mendoza and Alejandro Mugaburu Tapia.

         10. The remaining three petitioners who are not subject to mandatory
         detention, do not have a criminal history, and do not have any known
         chronic health conditions that would increase their vulnerability to COVID
         19 per the Center for Disease Control (CDC) guidelines.

         11. ICE found that of the 52 petitioners, one is over the age of 60. That
         petitioner has criminal convictions for carrying a concealed weapon,
         possession of narcotic equipment, possession of marijuana, larceny and
         arson and is subject to mandatory detention. He is scheduled for a hearing
         on his request for relief [] with an immigration judge on May 21, 2020.

         12. ICE found that of the 52 petitioners, 25 had no known chronic health
         conditions that would increase their vulnerability to COVID 19 per the
         Center for Disease Control (CDC) guidelines.

         13. ICE found that of the 52 petitioners, 27 did have known chronic health
         conditions that would increase their vulnerability to COVID 19 per the
         Center for Disease Control (CDC) guidelines.

         14. ICE found that of those 27 petitioners that had a known chronic health
         condition, 22 are subject to mandatory detention under the Immigration
         and Nationality Act and are not statutorily eligible for release pursuant to
         an order of recognizance, parole, or other alternative to detention.

         15. ICE found that of the 27 petitioners that had a known chronic health
         condition, 5 are eligible for some form of release under the Immigration and
         Nationality Act. After reviewing all factors to include health status, bond

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           eligibility, immigration history, immigration status and criminal history,
           ICE has approved 2 petitioners for release.

           16. However, ICE found that the remaining three petitioners have criminal
           convictions for [i]ntimidation, probation violation, fraud, illegal use of
           credit cards and traffic offenses.

           17. Additionally, some of the three plaintiffs are also pending criminal
           charges for [p]roperty damage, possession of stolen property, sale of stolen
           property, drug possession, larceny, weapons offense, firing a weapon, and
           aggravated assault with a weapon and failure to appear.

    [ECF No. 89-1, pp. 1-3].

           ICE’s fourth report [ECF No. 93], filed on May 11, 2020, focuses on the criminal

    histories of all the current detainees, not merely the 58 named Petitioners. Relevant

    portions are provided here verbatim:

           3. As of 6:00 a.m. on May 11, 2020, ICE detained 1210 detainees at Krome,
           BTC, and Glades.

           4. ICE is housing 419 detainees at BTC; 443 detainees at Krome; and 348 at
           Glades.

           5. Of the 1210 detainees, 787 detainees are considered to be subject to
           mandatory detention.

           6. Of the 419 detainees housed at BTC, 87 have criminal convictions and 332
           do not have criminal convictions. However, 96 of them are pending criminal
           charges.

           7. Of the 443 detainees housed at Krome, 241 have criminal convictions and
           202 do not have criminal convictions. However, 153 of them are pending
           criminal charges.

           8. Of the 348 detainees housed at Glades, 253 have criminal convictions and
           95 do not have criminal convictions. However, 95 of them are pending
           criminal charges.

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    [ECF No. 93-1, pp. 1-2].

           ICE’s fifth report, submitted May 14, 2020 [ECF No. 97], provides an update on the

    criminal histories and pending charges for the detainees. Relevant portions are listed here

    verbatim:

           3. As of 6:00 a.m. on May 14, 2020, ICE detained 1194 detainees at Krome,
           BTC, and Glades.

           4. ICE is housing 462 detainees at BTC; 403 detainees at Krome; and 329 at
           Glades.
           5. Of the 1194 detainees, 860 detainees are considered to be subject to
           mandatory detention.

           6. Of the 462 detainees housed at BTC, 108 have criminal convictions and
           354 do not have criminal convictions. However, 94 of the 354 detainees with
           no criminal convictions are pending criminal charges.

           7. Of the 403 detainees housed at Krome, 229 have criminal convictions and
           174 do not have criminal convictions. However, l16 of the 174 detainees
           with no criminal convictions are pending criminal charges.

           8. Of the 329 detainees housed at Glades, 246 have criminal convictions and
           83 do not have criminal convictions. However, 83 of the detainees with no
           criminal convictions are pending criminal charges.

    [ECF No. 97-1, pp. 1-2].

           ICE’s sixth report, filed on May 15, 2020 [ECF No. 100], revealed specifics about

    the methods used to release 170 detainees from the three centers between May 8 and May

    15, 2020. Specifically, 111 of the 170 detainees who were removed or released from the

    three centers were transferred to other facilities. Relevant portions of this report are

    provided here verbatim:

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         3. Between May 8, 2020 and May 15, 2020 at 9:00 a.m., ICE released or
         removed a total of 170 detainees. Those detainees were released or removed
         from the following facilities: 119 detainees from Krome, 17 detainees from
         Glades and 34 detainees from BTC.

         4. The nature of the 119 releases from Krome are as follows:
                a. 9 detainees were released on bond.
                b. 1 detainee was removed from the United States.
                c. 1 detainee was released because an immigration judge granted
                relief from removal.
                d. 1 detainee was released on an order of supervision based on a
                COVID-19 high risk category.
                e. 2 detainees were released on an order of supervision subsequent
                to a procedural ERO custody review.
                f. 3 detainees were turned over to local law enforcement on a
                warrant.
                g. 2 detainees departed voluntarily.
                h. 100 detainees were transferred out of Krome.

         5. The nature of the 17 releases from Glades are as follows:
                a. 3 detainees were released on bond.
                b. 4 detainees were released because an immigration judge granted
                relief from removal.
                c. 4 detainees were released on an order of supervision subsequent
                to a procedural ERO custody review.
                d. 6 detainees were transferred out of Glades.

         6. The nature of the 34 releases from BTC are as follows:
                a. 1 detainee was released on bond.
                b. 13 detainees were removed from the United States.
                c. 1 detainee was released because an immigration judge granted
                relief from removal.
                d. 1 detainee was released on Parole subsequent to a procedural ERO
                custody review.
                e. 10 detainees were released on an order of supervision subsequent
                to a procedural ERO custody review.
                f. 3 detainees were released on an order of supervision based on a
                COVID-19 high risk category.
                g. 5 detainees were transferred out of BTC.


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    [ECF No. 100-1, pp. 1-2].

          ICE’s seventh report, filed on May 18, 2020 [ECF No. 104], provides an update on

    the number of detainees on a facility-by-facility basis and the categories in which they

    have been described. Relevant portions are provided here verbatim:

           3. As of 6:00 a.m. on May 18, 2020, ICE detained 11918 detainees at Krome,
           BTC, and Glades.
           4. ICE is housing 456 detainees at BTC; 397 detainees at Krome; and 338 at
           Glades.

           5. Of the 1191 detainees, 846 detainees are considered to be subject to
           mandatory detention.

           6. Of the 456 detainees housed at BTC, 112 have criminal convictions
           and 344 do not have criminal convictions. However, 93 of the 344
           detainees with no criminal convictions are pending criminal charges.

           7. Of the 397 detainees housed at Krome, 223 have criminal convictions
           and 174 do not have criminal convictions. However, 119 of the 174
           detainees with no criminal convictions are pending criminal charges.

           8. Of the 338 detainees housed at Glades, 248 have criminal convictions
           and 90 do not have criminal convictions. However, 62 of the 90 detainees
           with no criminal convictions are pending criminal charges.

    [ECF No. 104-1, pp. 1-2].

          B.     Petitioners’ New Declarations

          Petitioners filed their expedited motion for class certification on May 5, 2020. [ECF

    No. 81]. Petitioners filed a reply in further support of their motion on May 12, 2020 [ECF




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          The total census was slightly reduced, from 1,194, to 1,191, in a four-day period.

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    No. 94] and attached new declarations which they say shows that ICE is “continuing to

    place these people in conditions that violate CDC Guidelines.” [ECF No. 94, p. 7].

           Some of these declarations, which were signed after the TRO was entered and after

    ICE issued its first report, contend that the conditions at the three centers continue to

    permit unacceptable conditions to exist, though Petitioners’ counsel acknowledge that

    “ICE may dispute these accounts.” [ECF No. 94, p. 8].

           If the declarations are factually accurate and complete, then there is a significant

    factual discrepancy between what ICE represents in its submissions (through

    declarations made under penalty of perjury) and what the Petitioner declarants describe.

    Other significant points are not necessarily factual disputes -- they merely document

    certain realities which ICE does not address in its reports and declarations (e.g., adequate

    social distancing at all times is impossible).

           The following excerpts from the new Petitioner declarations illustrate factual

    discrepancies, as opposed to undisputed descriptions which simply reflect certain

    realities of the conditions at the three detention centers:

           In a declaration signed on May 6, 2020, Reinier Guiber Avila says that “there is no

    hygiene here.” [ECF No. 94-1, p. 6]. He says, “there are not enough cleaning supplies”

    and he and his fellow podmates are given only two rags to clean the entire pod. Id. He

    also claims that “we do not have disinfecting wipes to use regularly.” Id. He states that

    he was given one wipe when he arrived at Krome (on April 17, 2020) but has not been


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    provided any additional wipes since his first day (i.e., a period of 15 days). Id.

           Miguel Angel Marroquin Perez is detained at Broward and signed a declaration

    on May 8, 2020. [ECF No. 94-1, pp. 15-17]. Although he says that masks are provided

    every three days, he says that mask use is not required, that the masks are usually thrown

    on the beds or on tabletops and “most people do not want to wear them because they are

    contaminated.” Id. at p. 15. He also advises that hand sanitizer is “sometimes” available

    outside the cafeteria and that he has not seen any hand sanitizer next to the telephones.

    Id. at p. 16. He also says that he has not received any education about hygiene and

    preventing the spread of COVID-19. Id. at p. 17. Moreover, he says he has not seen any

    Spanish-language posters about COVID-19 at Broward. Id.

           Iran Pichardo Perez-Borroto has been detained at Krome since April 16, 2020. [ECF

    No. 94-1, pp. 21-23]. He says he receives soap and shampoo “once or twice a week,” that

    the amount of soap is insufficient and that he and his other podmates do not always

    receive additional soap or shampoo when they request it. Id. at p. 22. He further contends

    that disinfecting wipes are not provided and that detainees sometimes use toilet wiper to

    clean the tables. Id.

            Deivys Perez Valladares has been at Krome since May 6, 2020 and was previously

    at Broward. [ECF No. 94-1, p. 26]. According to his declaration, Broward guards were not

    wearing masks or gloves when interacting with the detainees. Id. at p. 27. Staff at Krome

    did not provide information about COVID-19 when they arrived. Id. In addition, the


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    Perez-Valladares declaration says that no masks or gloves were given to detainees when

    they arrived at Krome from Broward and that only guards are using masks at Krome. Id.

           Danny Ruiz Garcia is detained at Broward, where he has been housed since March

    26, 2020. [ECF No. 94-1, p. 31]. According to his declaration, there is no hand sanitizer

    near the telephones, the hand sanitizer in the cafeteria is often empty and guards are

    given hand sanitizer only during lunch. Id. Mr. Ruiz also says that a Broward staffer

    denied his request for additional shower gel on May 5, 2020. Id. He also says that he has

    not received any education about hygiene or how to prevent the spread of COVID-19 at

    Broward. Id.

    IV.    Applicable Legal Standards & Analysis

           Petitioners’ class action certification motion is the precise legal issue currently

    before the Court.

           Nevertheless, the Undersigned will first discuss Swain v. Junior, No. 20-11622-C,

    2020 WL 2161317 (11th Cir. May 5, 2020) because it is a very recent and binding published

    Eleventh Circuit opinion concerning a challenge to conditions of confinement raised in

    the midst of the COVID-19 pandemic. 9 Moreover, Swain is helpful to a discussion of




    9
           There have been several district court and appellate court opinions in the past
    three months concerning COVID-19 prompted lawsuits filed by prisoners and detainees
    in federal, state and local prisons, jail and detention facilities. Those opinions are all non-
    binding. Swain is the only binding appellate decision which the Undersigned knows of
    which addresses the conditions of confinement and a demand for release as a result of
    the COVID-19 pandemic.

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    whether the merits of the prisoners’ claims there, which are similar to the ones here, affect

    the analysis of Petitioners’ class action motion.

           A.     Swain v. Junior

           In a 2-1 published opinion with a written dissent, our Appellate Court in Swain

    granted a motion to stay the District Court’s preliminary injunction pending an appeal

    by the Defendants (i.e., Miami-Dade County and the Director of its Corrections and

    Rehabilitations Department). The preliminary injunction, which was stayed, required the

    Defendants in that similar case to use myriad safety measures to prevent the spread of

    COVID-19 at the Metro West jail.

           The Swain Court considered the Plaintiffs’ § 1983 claim that Defendants violated

    the Eighth and Fourteenth Amendments through their purportedly deliberate

    indifference to the COVID-19 risks affecting the jail detainees. The Court noted that an

    Eighth Amendment challenge has two components: an objective one and a subjective one.

           To prevail on the objective component, a plaintiff must show “an objectively

    intolerable risk of harm.” Swain, 2020 WL 2161317, at *4.

           To satisfy the subjective component, a plaintiff must show that the prison official

    “acted with deliberate indifference.” Id. The Swain Court noted that the deliberate

    indifference element requires a prison official to have a subjective “state of mind more

    blameworthy than negligence.” Id.




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           The Eleventh Circuit held that the District Court “incorrectly collapsed” the

    subjective and objective components. Id. Moreover, it held that the Defendants are likely

    to prevail on appeal. Id.

           More specifically, the Eleventh Circuit held that the trial court “treated the increase

    in COVID-19 infections as proof that the Defendants deliberately disregarded an

    intolerable risk,” an approach which “likely violated the admonition that resultant harm

    does not establish a liable state of mind.” Id. It also held that the Defendants are likely to

    prevail for the additional reason that Plaintiffs “offered ‘little evidence’ to suggest that

    the Defendants were deliberately indifferent.” Id. Instead, the Appellate Court held, the

    evidence supports the conclusion that the Defendants “are taking the risk of COVID-19

    seriously.” Id.

           The Swain Court also held that the trial court “likely erred” by treating Metro

    West’s inability to achieve meaningful social distancing as “evincing a reckless state of

    mind.” Id.

           Although the specific conditions at the three federal detention centers and the

    County’s Metro West facility have not been established to be identical, some of the

    problematic conditions at the Metro West jail (e.g., the impossibility of achieving “social

    distancing”) seem to be also present at Krome, Broward, and Glades. But Swain held that

    the provisions of the preliminary injunction (e.g., specifying specific measures which

    county jail officials must take, such as requiring that soap and mask be provided) are


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    illustrations of a scenario where the District Court designated itself as a de facto “super-

    warden” and incorrectly required those officials to, in effect, obtain a “permission slip”

    from the Court before taking action at the jail. Id. at *5.

           Some of the measures in the preliminary injunction stayed in Swain are similar to,

    and at times identical to, the measures included in the temporary restraining order issued

    by the District Court in this case. Unlike the Defendants in Swain, however, the

    Defendants here (ICE, for all practical purposes) have not filed a notice of appeal of the

    TRO (because, presumably, the statute does not permit interlocutory appeal of a TRO, as

    opposed to a preliminary injunction). Instead, they have filed reports which provide

    information on what steps they have taken in response to the TRO.

           Given the similarities between Swain and the instant case,10 there could

    theoretically be a question about Petitioners’ chances of succeeding on the merits of their

    efforts to convert the TRO in the instant case into a preliminary injunction. To be sure,

    each case turns on its facts. The Swain facts are not identical to the facts here, so the

    appellate court’s ruling about the preliminary injunction in Swain and whether the

    evidence established deliberate indifference there does not necessarily mean it would

    reach a similar conclusion here about the deliberate indifference standard at the three




    10
          Swain was issued on May 5, 2020, which means that the Undersigned (who issued
    the Report and Recommendations on April 22, 2020) and Judge Cooke (who issued the
    TRO on April 30, 2020) did not have the benefit of Swain, which is now binding precedent,
    when we analyzed the issues.

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    immigration detention centers. In addition, the legal theories asserted by the parties in

    the two cases are not identical, either.

           Therefore, the mere fact that our Appellate Court stayed the preliminary

    injunction concerning Metro West does not mean that it would issue an identical ruling

    in this case, which, of course, has different facts. The health risks confronting the

    immigration detainees could be significantly greater than those affecting defendants

    housed at Metro West. Likewise, an evaluation of the mental states of ICE officials

    operating the three federal immigration facilities could show greater culpability than

    county officials operating Metro West. In other words, the Swain Plaintiffs may not have

    submitted sufficient evidence of deliberate indifference, while the Plaintiffs here may

    have provided more-substantial evidence of deliberate indifference.

           But it is not necessary to determine whether Petitioners will ultimately succeed in

    obtaining a preliminary injunction or declaratory relief here in order to decide the class

    certification issue. As the Advisory Committee Notes to the 2003 Amendment of Federal

    Rule of Civil Procedure 23(c)(1)(A) explains: “an evaluation of the probable outcome of

    the merits is not properly part of the certification decision.” Cf. Amgen Inc. v. Conn. Ret.

    Plans & Tr. Funds, 568 U.S. 455, 459 (2013) (emphasis added) (“Rule 23(b)(3) requires a

    showing that questions common to the class predominate, not that those questions will

    be answered, on the merits, in favor of the class.”).

           The purpose of a class-certification ruling “is not to adjudicate the case,” but “to


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    select the method best suited to adjudication of the controversy.” Id. at 460 (internal

    citation omitted). Adjudicating the merits to determine certification “put[s] the cart

    before the horse.” Id.; see generally Cooper v. Southern Co., 205 F.R.D. 596, 608-90 (N.D. Ga.

    2001) (“The Court’s responsibility is to make sure that the common bond between the

    class representatives’ claims and those of the class is strong enough so that it is fair for

    the fortunes of the class members to rise or fall with the fortunes of the class

    representatives.”); see also In re Chiquita Brands Int’l Inc. Alien Tort Statute and Shareholders

    Derivative Litigation, 331 F.R.D. 675, 682 (S.D. Fla. 2019) (finding that at the class

    certification motion stage, “the Court should not pass on the merits of the claims”); cf.

    Amgen, 568 U.S. at 465-66 (“Rule 23 grants courts no license to engage in free-ranging

    merits inquiries at the certification stage” and merits questions “may be considered to the

    extent – but only to the extent – they are relevant to determining whether the Rule 23

    prerequisites for class certification are satisfied”). 11




    11
             The Swain Court pointed out that an expert report found that “Metro West appears
    to have implemented many measures to curb the spread of the virus.” 2020 WL 2161317,
    at *4. It also emphasized that the Defendants “adopted extensive safety measures such as
    increasing screening, providing protective equipment, adopting social distancing when
    possible, quarantining symptomatic inmates, and enhancing cleaning procedures.” Id. at
    *5. These circumstances, the appellate court pointed out, are inconsistent with a finding
    of deliberate indifference.

           In its memorandum opposing the class action motion [ECF No. 92, pp. 13-14], ICE
    advised that it “began taking measures, prior to the filing of the lawsuit, to address the
    threat posed by COVID-19.” Id. at p. 13. The measures included some of the ones
    mentioned in Swain. ICE contends that its conduct, as evidenced by the pre-lawsuit

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           So an order certifying a class does not by itself indicate whether the claims certified

    will succeed. However, the Undersigned deems it prudent to point out that other

    appellate courts12 have recently issued opinions staying preliminary injunctions on

    rationales similar to the one articulated in Swain. See generally Valentine v. Collier, 956 F.3d

    797, 801, 803 (5th Cir. 2020) (staying preliminary injunction entered against the executive

    director of the Texas prison system and the warden of one of its prisons for the elderly

    and infirm, noting that the preliminary injunction created an “administrative nightmare,”

    and explaining that “the incidence of diseases or infections, standing alone, do not imply

    unconstitutional confinement conditions, since any densely populated residence may be

    subject to outbreaks”); Marlowe v. Leblanc, No. 20-30276, 2020 WL 2043425, at *2-4 (5th Cir.

    2020) (staying district court’s preliminary injunction entered against Louisiana’s prison

    system officials in a lawsuit filed by a diabetic who is “particularly vulnerable to the



    measures, “does not evince deliberate indifference to detainees’ serious medical needs.”
    [sic]. Id. at pp. 13-14.

            The appellate courts which have stayed COVID-19 preliminary injunctions against
    officials operating state and federal prison and detention facilities seem to have all relied
    on that view to stay the trial court’s preliminary injunction. See, e.g., Marlowe, 2020 WL
    2043425, at *2 (stating the question is whether the state prison officials are required “to
    do more than [they] have already done to mitigate the risk of harm” and noting that the
    evidence did not show deliberate indifference because the officials were taking “a
    plethora of measures” to “abate the risks posed by COVID-19”).

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            On the other hand, some trial-level district courts have issued orders granting
    injunctive relief and certifying classes or sub-classes in COVID-19 prisoner/detainee
    litigation. See, e.g., Fraihat v. U.S. Immigration & Customs Enforcement, No. EDCV-19-1546
    JGB, 2020 WL 1932570 (C.D. Cal. Apr. 20, 2020).

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    virus’s effects”; noting that the virus has spread within the prison but emphasizing that,

    given the many prevention measures taken by the prison, “an increase in infection rate

    alone is insufficient to prove deliberate indifference”; and holding that the harm to the

    state’s interest in administering its prison system is “particularly acute” because the

    preliminary injunction “interferes with the rapidly-changing approach” that the state has

    “used to respond to the pandemic so far”); cf. Roman v. Wolf, No. 20-55436, 2020 WL

    2188048, at *1 (9th Cir. May 5, 2020) (staying preliminary injunction except for paragraph

    requiring substantial compliance with CDC Guidelines at ICE immigration detention

    facility in Adelanto, California).

           B.     Federal Rule of Civil Procedure 23

           It is well established that trial courts have “broad discretion” in determining

    whether to certify a class and to subsequently amend a class. See, e.g., Coon v. Georgia Pac.

    Corp., 829 F.2d 1563, 1566 (11th Cir. 1987); Kilgo v. Bowman Transp., Inc., 789 F.2d 859, 877

    (11th Cir. 1986). As a result, the appellate court will review a District Court’s decision

    about whether to certify a class for an abuse of discretion. See Babineau v. Fed. Express

    Corp., 576 F.3d 1183, 1189 (11th Cir. 2009). The Eleventh Circuit will find an abuse of

    discretion in a class certification ruling only if the District Court applies the wrong legal

    standard, follows improper procedures in making its determination, bases its decision on

    clearly erroneous findings of fact, or applies the law in an unreasonable or incorrect




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    manner. See Klay v. Humana, Inc., 382 F.3d 1241, 1251 (11th Cir. 2004), abrogated in part on

    other grounds by Bridge v. Phoenix Bond & Indem. Co., 553 U.S. 639 (2008).

           “The class action is ‘an exception to the usual rule that litigation is conducted by

    and on behalf of the individual named parties only.’” Comcast Corp. v. Behrend, 569 U.S.

    27, 33 (2013) (quoting Califano v. Yamasaki, 442 U.S. 682, 700-01 (1979)). To fall within the

    exception, Plaintiffs “must affirmatively demonstrate [their] compliance” with Federal

    Rule of Civil Procedure 23. Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011).

           “A district court must conduct a rigorous analysis of the Rule 23 prerequisites

    before certifying a class.” Vega v. T-Mobile USA, Inc., 564 F.3d 1256, 1266 (11th Cir. 2009)

    (citation omitted). “A party seeking class certification must affirmatively demonstrate his

    compliance with [Rule 23]—that is, he must be prepared to prove that there are in fact

    sufficiently numerous parties, common questions of law or fact, etc.” Dukes, 564 U.S. at

    350. “In other words, ‘the party seeking class certification has a burden of proof, not a

    burden of pleading.’” Reyes v. BCA Fin. Servs., No. 16-cv-24077, 2018 WL 3145807, at *7

    (S.D. Fla. June 26, 2018) (quoting Brown v. Electrolux Home Prods., Inc., 817 F.3d 1225, 1234

    (11th Cir. 2016)).

           Plaintiffs seek class certification pursuant to Federal Rules of Civil Procedure 23(a)

    and (b)(2). Specifically, Plaintiffs seek certification of the following class:

           All civil immigration detained individuals held by Respondents at the
           Krome Service Processing Center (“Krome”), the Broward Transitional
           Center (“BTC”), or at Glades County Detention Facility (“Glades”) when
           this action was filed, since this action was filed, or in the future.

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    [ECF No. 81, p. 5].

           According to Petitioners, ICE has not even attempted to show this Court that it is

    fully implementing CDC Guidelines. Instead, as phrased by Plaintiffs, the ICE-submitted

    declarations “illustrate a consistent pattern of unhygienically cramped conditions,

    inadequate personal protective equipment, and grossly inadequate practices by ICE, such

    as late screening and use of massive cohort quarantining.” Id. at p. 2. Plaintiffs contend

    that putative class members are “uniformly not provided basic necessities to fight against

    COVID-19, such as space, face masks, soap, and hand sanitizer.”13 Id. at p. 6. “Each class

    member is therefore not only subject to similar conditions, but similarly subject to the

    same devastating risk of contracting COVID-19.” Id.

           Class certification is governed by Federal Rule of Civil Procedure 23. Class

    certification is proper where the party seeking certification demonstrates that (1) each of

    the prerequisites of Federal Rule of Civil Procedure 23(a) have been met; and (2) the

    proposed class satisfies at least one of the requirements listed in Rule 23(b). Dukes, 564

    U.S. at 345 (2011).




    13
           ICE disputes this description, as illustrated by the representations made in its post-
    TRO reports. The Undersigned acknowledges a significant factual dispute but will not
    resolve it here. If a class of some type is certified for claims concerning this alleged lack
    of hygiene, then all class members will have their claims succeed or fail based on an
    evidence-based determination of which set of facts is the correct one. Of course, this Court
    could always determine that the facts are not the ones portrayed by Plaintiffs or those
    described by ICE – and that the actual scenario is somewhere between the two competing
    versions.

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           The Rule 23(a) requirements are as follows:

           (1) the class is so numerous that joinder of all members is impracticable; (2)
           there are questions of law or fact common to the class; (3) the claims or
           defenses of the representative parties are typical of the claims or defenses
           of the class; and (4) the representative parties will fairly and adequately
           protect the interests of the class.

    Fed. R. Civ. P. 23(a).

                  i.         Analysis of the Rule 23(a) Factors

           The Supreme Court has held that “actual, not presumed, conformance with Rule

    23(a) [is] indispensable.” Gen. Tel. Co. of the Sw. v. Falcon, 457 U.S. 147, 160 (1982). The

    party seeking class certification bears the burden of demonstrating it has satisfied all four

    Rule 23(a) prerequisites and that the class lawsuit falls within one of the three types of

    actions permitted under Rule 23(b). Amchem Prods. Inc. v. Windsor, 521 U.S. 591, 614 (1997).

                                               1. Numerosity

           The proposed class satisfies the requirement that the class be “so numerous that

    joinder of all members is impracticable.” Fed. R. Civ. P. 23(a)(1). While there is no fixed

    rule, generally a class size less than twenty-one is typically considered inadequate, while

    a class size of more than forty is generally adequate. Cheney v. Cyberguard Corp., 213 F.R.D.

    484, 489-90 (S.D. Fla. 2003).

           This requirement is easily met here because there are many hundreds of people

    (indeed, approximately 1,124) in civil immigration detention who are being held by the

    same Respondent across Krome, BTC, and Glades, and each of them is affected by the


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    policies and practices challenged in this lawsuit. See, e.g., Rosas v. Baca, No. CV 12-00428

    DDP (SHx), 2012 WL 2061694, at *2 (C.D. Cal. June 7, 2012) (“The Jails currently house

    thousands of inmates, and are certain to house many more in the future. The court

    therefore agrees with Plaintiffs’ undisputed assertion that the numerosity requirement

    has been satisfied.”).

           The size of the proposed Class seeking injunctive or declaratory relief make

    joinder impracticable. The proposed Class thus easily satisfies the numerosity

    requirement of Rule 23(a)(1).

                                        2. Commonality

           Determining whether Petitioners/Plaintiffs meet the commonality requirement

    depends on the nature of the claims. The claims seeking release on bond or on conditions

    require a much-different analysis than the claims concerning the conditions (e.g., more

    soap and disinfecting products, reconfiguring sleeping arrangements to more easily

    facilitate social distancing).

           Commonality “requires at least one question common to all of the class members,

    the answer to which is “apt to drive the resolution of the litigation.” Money v, Pritzker,

    Nos. 20-cv-2093, 20-cv-2094, 2020 WL 1820660, at *14 (N.D. Ill. Apr. 10, 2020) (internal

    citation omitted).

           The Undersigned will first evaluate the conditions-related claims seeking a

    declaratory judgment and injunctive relief concerning improved hygiene and health


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    measures. In other words, the non-release claims.

           “Commonality requires the plaintiff to demonstrate that the class members have

    suffered the same injury.” Dukes, 564 U.S. at 350. The common contention of injury “must

    be of such a nature that it is capable of class wide resolution—which means that

    determination of its truth or falsity will resolve an issue that is central to the validity of

    each one of the claims in one stroke.” Id.

           A critical question for the class is whether ICE has been deliberately indifferent to

    the risk that people detained at Krome, Broward, and Glades will contract COVID-19 due

    to the allegedly unhygienic conditions and an inability to protect themselves through

    social distancing. See Helling v. McKinney, 509 U.S. 25, 32 (1993) (stating the Constitution

    confers upon the Government a duty to assume responsibility for safety and general well-

    being of people detained).

           Common questions also circle on the (in)adequacy of ICE’s policies and practices

    governing the conditions of confinement, including ICE’s failure to follow CDC

    Guidelines. These issues, which are at the core of the claims asserted by Plaintiffs and the

    class constitute the type of common questions that courts have found sufficient to meet

    the commonality requirement. For example, in Hernandez v. City of Monterey, the court

    certified “a class of inmates challenging jail safety and health care policies and practices,

    and a subclass of inmates challenging jail disability policies and practices.” 305 F.R.D.

    132, 139 (N.D. Cal. 2015).


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           Moreover, the very nature of this suit and the relief requested (other than release

    of detainees) also support a finding of commonality.

           Specifically, in a civil rights lawsuit such as this, “commonality requires only that

    there be at least one issue whose resolution will affect all or a significant number of the

    putative class members.” Braggs v. Dunn, 321 F.R.D. 653, 664 (M.D. Ala. 2017) (quoting

    Williams v. Mohawk Indus., Inc., 568 F.3d 1350, 1355 (11th Cir. 2009)) (internal brackets

    omitted). This “relatively light burden” does not require that all questions of law and fact

    be common to the putative class members. See Vega, 564 F.3d at 1268.

           Here, ICE’s uniform safety and hygiene practices and its alleged consistent refusal

    to follow CDC Guidelines at Krome, Broward, and Glades expose each class member to

    the same “substantial risk of serious harm.” See Hernandez, 305 F.R.D. at 157.

           All of the current detainees have been, or will be, subjected to these common

    conditions and common policies and practices, and a determination that ICE’s conduct is

    unconstitutional and violated CDC guidelines will therefore “resolve an issue that is

    central to the validity” of each and every class member’s detention. Dukes, 564 U.S. at 350.

           Plaintiffs say that ICE is holding all members of the class in the same horrific

    conditions, and the Court should find the necessary facts and rule on the constitutionality

    of those common conditions “in one stroke.” See id.

           The fact that certain details relating to their conditions of confinement may or will

    vary between class members does not defeat commonality. Reid v. Donelan, 297 F.R.D.


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    185, 191 (D. Mass. 2014), rev’d on other grounds, 819 F.3d 486 (1st Cir. 2016) (granting class

    certification despite individual differences among class members, where common issues

    pervade).

           Those inevitable differences -- which at most might entail some tailoring in the

    ultimate non-release remedy the Court might fashion -- do not change the fact that

    conditions experienced in all three South Florida detention centers at issue here are

    purportedly all uniformly unsanitary and unconstitutional or that ICE has supposedly

    shown deliberate indifference towards the risk of COVID-19 infection to all people they

    are detaining at those three facilities.

           In other words, that class members may suffer varying degrees of injury does not

    defeat commonality. See, e.g., In re Deepwater Horizon, 739 F.3d 790, 810-11 (5th Cir. 2014)

    (“[T]he legal requirement class members have all ‘suffered the same injury’ can be

    satisfied by an instance of the defendant’s injurious conduct, even when the resulting

    injurious effects—the damages—are diverse.”).

           The class members face a common risk of infection, and a ruling that ICE’s conduct

    is unconstitutional and illegal will “resolve an issue that is central to the validity” of each

    class member’s claim. Dukes, 564 U.S. at 350.14


    14
           ICE contends that the detainees all have “unique characteristics, including their
    age, gender, general state of health, and specific medical conditions which might render
    them more vulnerable to COVID-19 infection.” [ECF No. 110, p. 2]. This, it says,
    demonstrates that a challenge to conditions cannot be handled on a class basis. Moreover,
    ICE notes, Plaintiffs included affidavits detailing their specific medical situations

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           Plaintiffs have met Rule 23(a)’s commonality requirement for the claims seeking

    relief other than release. Thus, a class action seeking a declaration that the conditions at

    the three South Florida immigration detention centers constitute cruel and unusual

    punishment or an injunction requiring that cleaning and hygiene products be provided

    on a regular basis and that beds be reconfigured to promote social distancing meets the

    commonality requirement.

           The demand for release, however, presents a far-different picture.

           At bottom, the release demand does not meet the commonality requirement. The

    release demand arises from Petitioners’ habeas corpus claim under 28 U.S.C. § 2241. The

    Undersigned finds Money v. Pritzker insightful and persuasive and relies upon it to

    support the conclusion that the purported class seeking release does not meet Rule 23(a)’s



    “because they believed those are relevant facts insofar as whether ICE is obligated to take
    into account their unique medical conditions because such conditions create a risk of
    serious harm to them, and the disregard of that risk, by conduct more than mere
    negligence, would constitute deliberate indifference to their serious medical need.” Id. at
    p. 3.

           The Undersigned is not convinced that these different medical conditions render
    class treatment unavailable for claims demanding compliance with CDC Guidelines,
    however. The purported failure to issue sufficient soap or cleaning products or masks is
    a scenario applicable to all three facilities, in general. Determining whether ICE officials
    are deliberately indifferent because they failed to provide these items would typically not
    depend on whether one detainee is 35 years old or 55 years old, or if one detainee has a
    cholesterol level of 241 while another has a level of 144. Similarly, the failure to place beds
    more than six feet apart to facilitate social distancing affects all detainees, and the health
    status of each detainee would usually not be distinct enough to cause a different
    conclusion about whether close bed placement constitutes deliberate indifference to a
    virus-created health risk.

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    commonality requirement. 2020 WL 1820660, at *14-15. Because I find Money persuasive,

    I will provide a detailed discussion of its more-important features.

           The Money Plaintiffs asked the Court to force the State of Illinois executive branch

    to start a process for the potential release of thousands of inmates, through medical

    furlough or home detention. In particular, the Plaintiffs are ten individuals serving prison

    sentences in various Illinois facilities. They brought two purported class action lawsuits

    seeking release of prisoners from state corrections facilities in light of the COVID-19

    pandemic.

           The Court noted that Plaintiffs are “correct in asserting that the issue of inmate

    health and safety is deserving of the highest degree of attention.” Id. at *1.

           The foundation of those two lawsuits is, for all essential purposes, the same as the

    one here: the Plaintiffs contend that (1) the prison setting makes them (and other

    purported class members) especially vulnerable to COVID-19; (2) the government’s

    responses to the danger are insufficient; and (3) the only way to solve the problem is

    moving prisoners out of prisons.

           Similar to the Plaintiffs here, the Money Plaintiffs also filed a motion for a TRO and

    a preliminary injunction.

           Similar to the instant case, Money’s ultimate aim is “unmistakably [to] seek to

    reduce the prison population,” which is “the whole point” of the lawsuits, which seek to

    “remove inmates from prison because they are vulnerable in those facilities.” Id. at *13.


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           The Court noted that the impetus for Plaintiffs’ claims is the living conditions

    inherent in a congregate setting during the COVID-19 epidemic. It further pointed to the

    reality that “all prison facilities, by definition have living conditions that prevent inmates

    from practicing the social distancing required by current guidance from the CDC” and

    the Illinois state government. Id. The Court also flagged a truism applicable to the instant

    case: “If prisons could be reconfigured to permit social distancing and observance of

    CDC’s hygiene recommendations, Plaintiffs would have no claim.” Id.

           Shifting its analysis to the commonality requirement, the Court noted that the

    public interest, which must be considered when evaluating a request for a TRO or

    preliminary injunction,15 “mandates individualized consideration of any inmate’s

    suitability for release and on what conditions, for the safety of the inmate, the inmate’s

    family, and the public at large.” Id. at *14 (emphasis added).

           The Money Court expressed myriad points which apply to the instant lawsuit

    against ICE:

           1.      “Each putative class member comes with a unique situation – different

    crimes,16 sentences, outdates, disciplinary histories, age, medical history, places of


    15
          The public interest factor is one of four requirements for injunctive relief in the
    Eleventh Circuit. Wreal, LLC v. Amazon.com, Inc., 840 F.3d 1244, 1247 (11th Cir. 2016).

    16
           Although the detainees here are civil, ICE officials would, and should, consider a
    detainee’s criminal history when assessing him or her for release, as it could easily impact
    the danger-to-the-community factor used when evaluating appropriateness of release in
    a given case.

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    incarceration, proximity to infected inmates, availability of a home landing spot,

    likelihood of transmitting the virus to someone at home detention, likelihood of violation

    or recidivism, and danger to the community.” Id. at *15.

           2.        Although commonality does not require perfect uniformity, it “does

    require more uniformity that these Plaintiffs would have on the only matter ‘apt to drive

    the resolution of this litigation’ (Wal-Mart, 564 U.S. at 350) -- namely, which class members

    should actually be given a furlough?” Id.

           3.        “Assessment of the safety risk must be based on an individualized

    analysis.” Id.

           4.        “[T]here is no way to decide which inmates should stay, and which inmates

    should go, without diving into an inmate-specific inquiry.” Id.

           5.        The “permutations here are endless, as rarely, if ever, will any two plaintiffs

    be alike on the factors that matter at the point of decision.” Id.

           6.        The differences among the factors for all inmates (or detainees, to use the

    term from the instant case) “are so vast and fundamental that class treatment . . . is

    completely unworkable.” Id.

           Thus, as outlined by the Money Court, the claims for release are inappropriate for

    class treatment because they do not meet the commonality element. 17


    17
           In a supplemental memorandum of law [ECF No. 103], Plaintiffs attempt to
    distinguish Money by emphasizing that Plaintiffs’ sole claim for relief there was release
    from confinement (while the claims here include requests for relief to protect them from

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                                            3. Typicality

           The typicality requirement centers on the relationship between the proposed class

    representatives and the other members of the class. Ibrahim v. Acosta, 326 F.R.D. 696, 700

    (S.D. Fla. 2018) (citing Vega, 564 F.3d at 1275). This analysis turns on “whether other

    members have the same or similar injury, whether the action is based on conduct which

    is not unique to the named class plaintiffs, and whether other class members have been

    injured by the same course of conduct.” In re checking Account Overdraft Litig., 286 F.R.D.

    645, 653 (S.D. Fla. 2012). “A sufficient nexus is established if the claims or defenses of the

    class and the class representative arise from the same event or pattern or practice and are

    based on the same legal theory.” In re Terazosin Hydrochloride Antitrust Litig., 220 F.R.D.

    672, 686 (S.D. Fla. 2004) (internal citation omitted).

           Commonality and typicality tend to overlap, as each looks to the nature of the

    claims presented in the case, and whether the class members and the named plaintiffs are

    similarly situated as to those claims. See Dukes, 564 U.S. at 349, n.5

           Here, the proposed class members have suffered the same injury because they are

    subject to the same confinement under the same allegedly unconstitutional conditions

    caused by the same purported deliberate indifference by the same entity (i.e., ICE) which




    the risk of COVID-19 infection. They note that the TRO-imposed measures benefit every
    person at all three facilities. The Undersigned appreciates this important distinction. And
    that is why I’m recommending that a class be certified for the non-release claims, e.g., for
    claims designed to require health-focused measures at the facilities).

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    is exposing them to the same risk of developing COVID-19. [See ECF No. 76, pp. 6-10]; see

    also Armstrong v. Davis, 275 F.3d 849, 869 (9th Cir. 2001) (finding typicality requirement is

    satisfied when “the cause of the injury is the same—here, the Board’s discriminatory

    policy and practice”). All class members are forced to live in close quarters with others in

    civil detention -- when they sleep, eat, shower, and use the toilet. Furthermore, all class

    members are exposed to a similar lack of hygiene and health products and an alleged lack

    of screening, personal protective equipment and medical oversight.

           Therefore, to the extent that the named representatives and putative class

    members are seeking relief other than release, then they have met the typicality

    requirement. But to the extent that they all seek release, then the typicality requirement,

    which is similar to the commonality requirement, is not met for the same reasons outlined

    in Money. 2020 WL 1820660, at *14.

                                                4. Adequacy

           Rule 23(a)(4) requires that “the representative parties will fairly and adequately

    protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). Adequacy depends on the

    resolution of two questions: “(1) whether plaintiffs’ counsel are qualified, experienced,

    and generally able to conduct the proposed litigation and . . . (2) whether plaintiffs have

    interests antagonistic to those of the rest of the class.” See Cheney, 213 F.R.D. at 496

    (quoting Kirkpatrick v. J.C. Bradford & Co., 827 F.2d 718, 726 (11th Cir. 1987)).




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           The Undersigned rejects ICE’s argument that typicality is not met because the

    claims may vary depending on which of the three detention facilities are at issue.

           ICE also argues that adequacy is not met because future putative class members

    may confront different conditions, which “may vary over time.” [ECF No. 92, p. 9]. But

    this concern is easily addressed by limiting the class to detainees currently housed at the

    three facilities and excluding those who will be housed there in the future. Savino v. Souza,

    No. 20-10617, 2020 WL 1703844, at *8 (D. Mass. Apr. 8, 2020) (excluding future ICE

    detainees from class because “the situation is rapidly evolving and future detainees may

    well be subject to different confinement conditions than those now obtaining,” which

    means that the named representatives might not be able to “fairly and adequately protect

    the interests of those future detainees”).

           ICE has not challenged the adequacy of Plaintiffs’ counsel, and the Undersigned

    has little difficulty concluding that they are experienced and will fairly and adequately

    represent the interests of the class.18

           Plaintiffs have met the adequacy requirement, but the class for the non-release

    claims will not include future detainees and it will not include those detainees who have

    already been transferred. Judge Cooke has already entered an Order authorizing ICE to




    18
          The proposed class counsel are King & Spalding LLP, the Immigration Clinic at
    the University of Miami School of Law, the Rapid Defense Network (a New York State
    nonprofit legal services organization), Prada Urizar, LLC, the Southern Poverty Law
    Center, Americans for Immigrant Justice, and the Legal Aid Service of Broward County.

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    transfer detainees at the three South Florida facilities to other immigration detention

    facilities. This was done in order to provide a method to quickly reduce the census

    populations. In addition, the option of using a transfer to reduce the number of detainees

    is one which some prisoners actually request in the COVID-19 lawsuits. See e.g., Mays v.

    Dart, No. C 2134, 2020 WL 1987007, at *1 (N.D. Ill. Apr. 27, 2020).

                  ii. Analysis of the Rule 23(b) Factor

           Plaintiffs say they are proceeding under Rule 23(b), which authorizes a class action

    if “the party opposing the class has acted or refused to act on grounds that apply

    generally to the class, so that final injunctive relief or corresponding declaratory relief is

    appropriate respecting the class as a whole.” Fed. R. Civ. P. 23(b)(2).

           When assessing a Rule 23(b) theory, “the critical inquiry is whether the class

    members have suffered a common injury that may properly be addressed by class-wide

    injunctive or equitable relief.” Ibrahim, 326 F.R.D. at 701 (citing Holmes v. Continental Can

    Co., 706 F.2d 1144, 1155 (11th Cir. 1983)); see also Dukes, 564 U.S. at 360 (internal citation

    omitted) (“The key to the (b)(2) class is the indivisible nature of the injunctive or

    declaratory remedy warranted—the notion that the conduct is such that it can be enjoined

    or declared unlawful only as to all of the class members or as to none of them.”).

           “The touchstone of a 23(b)(2) class is that the class claims must be cohesive.” Harris

    v. Union Pacific R.R. Co., 953 F.3d 1030, 1033 (8th Cir. 2020). Rule 23(b)(2) applies only

    when a single injunction or declaratory judgment would provide relief to each member


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    of the class. Dukes, 564 U.S. at 360. More importantly, a Rule 23(b)(2) class action is

    appropriate “only when a single injunction or declaratory judgment would provide relief

    to each member of the class,” not “when each individual class member would be entitled

    to a different injunction or declaratory judgment against the defendant.” Id.

           Plaintiffs’ argument in favor of Rule 23(b)(2) certification focuses on their

    challenges to conditions (as opposed to a demand for release from detention). For

    example, they say they all “are being denied the same opportunity to socially distance,

    the same soap and cleaning items, and the same personal protective equipment.” [ECF

    No. 81, p. 15].

           The Undersigned agrees that injunctive relief concerning these types of remedial

    measures can be provided on a class-wide basis. A decision to issue masks twice a week,

    for example, inures to the benefit of all detainees.

           But Rule 23(b)(2) is “the sticking point for the habeas corpus plaintiffs’ attempts

    to bring a representative action . . .” Mays, 2020 WL 1987007, at *18 (emphasis added).

    The Undersigned finds Mays v. Dart persuasive and will therefore provide a

    comprehensive review of its legal analysis.

           Two Cook County Jail (in Chicago, Illinois) detainees filed a lawsuit against the

    county sheriff, who operates the jail, on behalf of themselves and a purported class of

    similarly situate persons. They alleged that the sheriff violated the constitutional rights

    of jail detainees by failing to provide them with reasonably safe living conditions in the


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    face of the current coronavirus pandemic. They asserted claims under 42 U.S.C. § 1983

    and for writs of habeas corpus under 28 U.S.C. § 2241.19

           The Mays v. Dart Court evaluated the case on a claim-by-claim basis and therefore

    needed to address the propriety of a representative action for the habeas corpus claim.

    After noting that Rule 23’s class action provisions do not apply to habeas corpus

    proceedings in the Seventh Circuit, the Court noted that representative actions, which

    “are analogous to class actions,” can on rare occasion be brought in habeas corpus

    proceedings. Id. at 16. Moreover, the Court held that Rule 23 “is instructive in analyzing

    whether plaintiffs can bring a representative action.” Id.

           Significantly, the plaintiffs there also relied on, or analogized to, Rule 23(b)(2). But

    the Court held that the Plaintiffs did not meet its requirements. Specifically, the Court

    explained that “in actions where plaintiffs seek an injunction that would ‘merely initiate

    a process through which highly individualized determinations of liability and remedy

    are made,’ Rule 23(b)(2) is not satisfied.” Id. at *19 (citing Jamie S v. Milwaukee Public

    Schools, 668 F.3d 481, 499 (7th Cir. 2012)).

           The Court noted the reality that issuing writs of habeas corpus “would entail

    individualized proceedings,” a result which made Rule 23(b)(2) unavailable. Id. at *19.


    19
           Unlike Plaintiffs in the instant case, who urge an injunction preventing ICE from
    transferring any detainees to other facilities, the plaintiffs in Mays v. Dart affirmatively
    requested a transfer from the Cook County Jail to other jail locations within the sheriff’s
    control.


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    Moreover, it noted that the Court would “need to consider the circumstances of the

    detained persons and any threat they pose to public safety, which plainly would vary

    from one person to another.” Id. at *20.20 This, the Court explained, “is a process that

    would render the claim unsuitable for certification under Rule 23(b)(2) or its analogy for

    representative actions.” Id.

           The same scenario applies here (as to the habeas corpus claims for release).

    Because release orders must be made individually, there cannot be a class-wide

    injunction for all detainees (i.e., there would not be one injunction requiring a mass

    release of all 1,214 detainees). Thus, Rule 23(b)(2) is inapplicable.

    V.     Conclusion

           The Undersigned respectfully recommends that Judge Cooke grant the class

    certification motion for the claims concerning the conditions of confinement and for

    declaratory relief but deny it for the habeas corpus claims for release. Moreover, the class

    for the habeas corpus claims for release would not include those challenging their recent




    20
            The Court noted that the Prison Litigation Reform Act of 1995 (“PLRA”) mandates
    that a court “give substantial weight to any adverse impact on public safety” before
    issuing preliminary injunctive or prospective relief” that would apply to the habeas
    corpus claim. Id. at *19. Neither side has argued that the PLRA applies here, and Plaintiffs’
    counsel took the position in a recent hearing that it did not apply. Nevertheless, Plaintiffs
    are demanding release or release on conditions, and they have not suggested that a
    danger-to-the-community analysis is somehow unavailable or improper in an assessment
    of eligibility for release. These assessments would have to be made on an individualized
    basis, which is contrary to the class-wide requirement of Rule 23(b)(2) relief.


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    transfers out of the three facilities (because those decisions are made on an individualized

    basis) or those who will be transferred into the facilities in the future.

           But the detainees who have been transferred would still be in the class for the non-

    release claims challenging the conditions, as this Court does not lose jurisdiction over the

    claims of a detainee who was transferred.

           Plaintiffs allege in their new emergency motion (which has not been referred to

    me) that ICE is playing a shell game. Specifically, they allege that ICE’s transfers are a

    “naked (and legally erroneous) attempt to shirk this Court’s oversight” and that the

    hygiene conditions associated with the transfers are horrific. [ECF No. 106, p. 3]. But ICE

    has not yet had the chance to respond to these allegations, so the Undersigned cannot

    conclude or even speculate about whether ICE is legitimately using transfers to minimize

    the census for appropriate, health-focused reasons, or whether it is doing what Plaintiffs

    accuse it of doing: “cross[ing] over from the deliberate indifference this Court previously

    found and mov[ing] into the realm of outright disregard for this Court’s authority.” Id.

           Any detainee transferred into the three facilities would reap the benefit of

    injunctive or declaratory relief concerning conditions provided to the named Petitioners

    and other class members, regardless of whether they were in a certified class or sub-class.

    See generally Dixon v. Ivey, No. 2:20-cv-248-WHA, 2020 U.S. Dist. LEXIS 81183, at *4 (M.D.

    Ala. May 6, 2020) (recommending denial of inmate’s motion for class certification in

    COVID-19-related lawsuit over allegedly unsafe and hazardous conditions and citing a


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    Tennessee federal case denying a class certification motion involving county jail inmates

    because “any declaratory relief granted . . . would likely inure to the benefit of other

    similarly-situated individuals,” even if not technically in a class).

           One final point:

           The 58 named detainees and those in the prospective class are all in an unenviable

    position. Many of them are likely scared. In fact, most of them may be scared of the

    COVID-19 health risks they confront while being housed at the detention centers. To

    succeed on their legal claims, however, they must trudge through the legal headwinds

    created by Swain, a case admittedly based on different facts but one maintaining the

    deliberate indifference hurdle which prisoners and detainees still must clear to prove

    cruel and unusual punishment, even in the midst of a once-in-a-century pandemic which

    has killed more than 93,000 persons in the United States and more than 318,000 persons

    globally.

           The current inability to achieve social distancing is, to be sure, a significant medical

    issue at the three facilities, but Swain held that this is likely not a scenario “evincing a

    reckless state of mind.” 2020 WL 2161317, at *14. The Undersigned outlined the realities

    of detention centers and the difficulties inherent in operating them in the Report and

    Recommendations [ECF No. 63] issued on the TRO motion, and there is no need to repeat

    them here. For present purposes, it is sufficient to simply note that a post-Swain Plaintiff

    class will need to address and overcome these realities when attempting to obtain a


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    preliminary injunction or other relief requiring deliberate indifference. In addition, they

    will need to grapple with Swain’s perspective that officials operating jails have experience

    and expertise which a Court should respect before deciding to classify their conduct as

    deliberately indifferent.

           At bottom, class certification on some claims is certainly a step forward for

    Plaintiffs. But it is only one step on a multi-step journey likely to be filled with precedent-

    based potholes and Swain-influenced legal road hazards. But “a journey of a thousand

    miles begins with a single step,”21 and Plaintiffs have already taken a few substantial steps

    (e.g., a TRO, the extension of the TRO and this Report and Recommendations

    recommending class certification of some claims).

    VI.    Objections

           The parties will have only fourteen (14) calendar days from the date of being

    served with a copy of this Report and Recommendations within which to file written

    objections, if any, with the District Judge. Each party may file a response to the other

    party’s objection within fourteen (14) calendar days of the objection.22 Failure to timely


    21
          Well-known ancient Chinese proverb, probably first written between the 4th and
    6th Centuries. Meaning of “A Journey of a Thousand Miles Begins with a Single Step,” Literary
    Devices: Definition and Examples of Literary Terms, https://literarydevices.net/a-
    journey-of-a-thousand-miles-begins-with-a-single-step/ (last visited May 22, 2020).

    22
           The Undersigned is aware that Judge Cooke has scheduled [ECF No. 101 and May
    19, 2020 Order] a Zoom hearing on the motion for a preliminary injunction for May 27,
    2020. The motion for injunctive relief is designated as an emergency. But the Undersigned
    does not view the later-filed, relatively-recent class certification motion as an emergency,

                                                  52
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    file objections shall bar the parties from a de novo determination by the District Judge of

    an issue covered in the Report and shall bar the parties from attacking on appeal

    unobjected-to factual and legal conclusions contained in this Report except upon grounds

    of plain error if necessary in the interest of justice. See 28 U.S.C. § 636(b)(1); Thomas v. Arn,

    474 U.S. 140, 149 (1985); Henley v. Johnson, 885 F.2d 790, 794 (11th Cir. 1989); 11th Cir. R.

    3-1 (2016).

            RESPECTFULLY RECOMMENDED in Chambers, in Miami, Florida, on May 22,

    2020.




    Copies furnished to:
    The Honorable Marcia G. Cooke
    All counsel of record




    and Plaintiffs (who asked for “expedited” treatment) have not designated it as one either.
    Therefore, the Undersigned is using the 14-day presumptive deadline established by
    Local Rule 4.

                                                   53
